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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

IMPLICIT, LLC,                                     §
                                                   §
                Plaintiff,                         §
                                                   §
v.                                                 §   CIVIL ACTION NO. 2:18-CV-00053-JRG
                                                   §
NETSCOUT SYSTEMS, INC.,                            §
                                                   §
                Defendant.                         §

                                             ORDER

       The Court issues this Order sua sponte. In light of the available time on its calendar, the

Court plans to conduct two jury trials in December 2019. The first trial will begin on December 9,

2019 and the second trial will begin on December 16, 2019. Currently, there are four cases which

are scheduled for trial in December. The Court designates the order of trial as between these four

cases as follows: (1) Music Choice v. Stingray Digital Inc., 2:16-CV-0586-JRG-RSP; (2) Implicit,

LLC v. NetScout Systems, Inc., 2:18-CV-00053-JRG; (3) Implicit, LLC v. Sandvine Corporation,

2:18-CV-00054-JRG; and (4) Semcon IP Inc. v. ASUSTek Computer, Inc., 2:18-CV-00193-JRG.

In the event that one or more of the above-listed cases is finally resolved prior to December 9,

2019, then the highest designated case then unresolved will proceed to trial at that time.

       The same process will determine which among these cases will proceed to trial on

December 16, 2019. Upon the resolution of any of these cases prior to December 9, 2019 counsel

shall immediately inform the Court by calling chambers. Such telephonic notification shall be in

addition to any other obligations imposed on parties who resolve cases prior to trial.
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    So ORDERED and SIGNED this 13th day of November, 2019.




                                            ____________________________________
                                            RODNEY GILSTRAP
                                            UNITED STATES DISTRICT JUDGE




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